Case 13-11487-RLM-13 Doc Filed 03/06/19 EOD 03/06/19 12:32:56 Pg1of3

Fill in this information to identify the case:

 

 

 

 

 

 

 

Debtor 1 Stacy Ann Warfield

Debtor 2

(Spouse, if filing)

United States Bankruptcy Court for the: Southern District of | Indiana

Case Number 43-11487-RLM-13 (State)

Official Form 4100R

Response to Notice of Final Cure Payment 10/45

 

According to Bankruptcy Rule 3002.1(g), the creditor responds to the trustee’s notice of final cure payment.

Lee | Mortgage Information

Name of creditor: PHH Mortgage Corporation Court Claim no. (if known) 6

Last four digits of any number you use
to identify the debtor's account: 0341

Property address: 1520 East 54th Street
Indianapolis, IN 46220-3303

 

 

Prepetition Default Payments
Check one:

M Creditor agrees that the Debtor(s) have paid in full the amount required to cure the prepetition default on the creditor's claim.

O Creditor disagrees that the debtor(s) have paid in full the amount required to cure the prepetition default on the creditor's claim.
Creditor asserts that the total prepetition amount remaining unpaid as of the date of this response is:

Pe Postpetition Mortgage Payment

 

Check one:

M Creditor states that the debtor(s) are current with all postpetition payments consistent with § 1322(b)(5) of the Bankruptcy Code,
including all fees, charges, expenses, escrow, and costs.

The next postpetition payment from the debtor(s) is due on: 04/01/2019
MM/ DD/YYYY

O Creditor states that the debtor(s) are not current on all postpetition payments consistent with § 1322(b)(5) of the Bankruptcy
Code, including all fees, charges, expenses, escrow, and costs.

Creditor asserts that the total amount remaining unpaid as of the date of this response is:

a. Total postpetiton ongoing payments due: (a)S__
b. Total fees, charges, expenses, escrow, and costs outstanding: + (b) $
c. Total. Add lines a and b.

Creditor asserts that the debtor(s) are contractually
obligated for the postpetition payment(s) that first became

due on: / / _
MM/ DDIYYYY

 

Official Form 4100R Response to Notice of Final Cure Payment page 1

 
Debtor 1 Stacy Ann Warfield Case number (if known) 13-11487-RLM-13

Itemized Payment History

 

If the creditor disagrees in Part 2 that the prepetition arrearage has been paid in full or states in Part 3 that the debtor(s)
are not current with all postpetition payments, including all fees, charges, expenses, escrow, and costs, the creditor
must attach an itemized payment history disclosing the following amounts from the date of the bankruptcy filing through
the date of this response:

e all payments received;
e all fees, costs, escrow, and expenses assessed to the mortgage; and
e all amounts the creditor contends remain unpaid.

 

 

 

The person completing this response must sign it. The response must be filed as a supplement to the creditor's proof
of claim.

Check the appropriate box.
O tam the creditor M 1am the creditor's authorized agent.

i declare under penalties of perjury that the information provided in this response is true and correct to the best of my
knowledge, information, and reasonable belief.

Sign and print your name and your title, if any, and state your address and telephone number if different from the notice address
listed on the proof of claim to which this response applies.

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xX Date 3/6/2019
Signature
Print: Kristin L. Durianski Title Attorney
FirstName MiddieName Last Name
Company _Codilis Law, LLC
Address 8050 Cleveland Place
Merrillville, IN 46410
Contact
Phone (219) 736-5579 Email bankruptcv@codilis.com
Attorney
File: 1026776

 

Official Form 4100R Response to Notice of Final Cure Payment page 2

 
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CERTIFICATE OF SERVICE

I certify that on March 6, 2019, a copy of the attached was filed electronically. Notice of this filing will be sent to the
following parties through the Court's Electronic Case Filing System. Parties may access this filing through the

Court's system.

Mark S. Zuckerberg; filings@mszlaw.com
Ann M. Delaney; ECFdelaney@trustee13.com
United States Trustee, S.D., IN; ustpregion10.in.ecf@usdoj.gov

I further certify that on March 6, 2019, a copy of the attached was mailed by depositing in the U.S. Mail to the
following:

Stacy Ann Warfield
1520 E 54th
Indianapolis, IN 46220

Attorneys for Creditor

By: Kywrtin hk. Duuanel~

Kristin L. Durianski 24866-64

 

Codilis Law, LLC

8050 Cleveland Place
Merrillville, IN 46410
(219) 736-5579
bankruptcy@codilis.com
Atty File: 1026776

This firm is deemed to be a debt collector.
